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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                               UNITED STATES DISTRICT COURT                                 May 01, 2025
                                SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  BROWNSVILLE DIVISION

J.A.V., et al.,                                   §
                                                  §
         Petitioners,                             §
                                                  §
VS.                                               §   CIVIL ACTION NO. 1:25-CV-072
                                                  §
DONALD J. TRUMP, et al.,                          §
                                                  §
         Respondents.                             §

                                   ORDER AND OPINION

         In this lawsuit brought under 28 U.S.C. § 2241, Petitioners J.A.V., J.G.G., and W.G.H.

challenge Respondents’ attempt to remove them from the United States based on the Alien

Enemies Act, 50 U.S.C. § 21, and the Proclamation that President Donald Trump issued on March

14, 2025, entitled “Invocation of the Alien Enemies Act Regarding the Invasion of the United

States by Tren De Aragua.” Simultaneous with their initiation of this habeas action, Petitioners

presented a motion to certify a class of “[a]ll noncitizens in custody in the Southern District of

Texas who were, are, or will be subject to the [Proclamation] and/or its implementation.” (Class

Cert. Mot., Doc. 4, 7)

         For the following reasons, and based on the record and the applicable law, the Court finds

the requested relief appropriate, to the extent indicated in this Order and Opinion.

I.       Analysis

         Petitioners ask the Court to certify a class based on Federal Rule of Civil Procedure

23(b)(2) or, alternatively, to adopt a multi-party proceeding similar to a Rule 23 class action to

address the common questions of law that the lawsuit presents. (PI Mot., Doc. 42, 36; see also

Class Cert. Mot., Doc. 4, 7)

         Respondents dispute that Petitioners can satisfy the Rule 23 requirements for class

certification, arguing that “no basis” exists to certify a class to resolve “whether an alien has been

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properly included in the category of alien enemies–necessarily individual determinations.”

(Resp., Doc. 45, 38) In addition, they allude to a threshold question of whether a class action is

appropriate in the context of a petition for a writ of habeas corpus brought under 28 U.S.C. § 2241.

(Id. (“Even if a class could be brought in habeas, . . . .”))

         Although neither side devotes much attention to the issue, the Court begins with the

threshold question.

         A. Class Certification in a Habeas Corpus Proceeding

         The Fifth Circuit and the Supreme Court have never explicitly ruled that class actions are

a proper mechanism in habeas corpus actions. See Jennings v. Rodriguez, 583 U.S. 281, 324 n.7

(2018) (“This Court has never addressed whether habeas relief can be pursued in a class action.”)

(Thomas, J., concurring); Schall v. Martin, 467 U.S. 253, 261 n.5 (1984) (“We have never decided

whether Federal Rule of Civil Procedure 23, providing for class actions, is applicable to petitions

for habeas corpus relief.”). That said, the Supreme Court has reviewed issues in cases where the

district court certified a class in a habeas proceeding, although the defendant did not challenge

the certification on appeal. See, e.g., Nielsen v. Preap, 586 U.S. 392 (2019) (reviewing issues in a

habeas class action challenging mandatory detention without bond); Schall, 467 U.S. at 261 n.10

(“Although appellants contested the class certification in the District Court, they did not raise the

issue on appeal[.]”).

         Other circuit courts have addressed the matter. In 1972, the Ninth Circuit rejected the

argument that “a petition for writ of habeas corpus can never be treated as a class action.” Mead

v. Parker, 464 F.2d 1108, 1112 (9th Cir. 1972); see also Cox v. McCarthy, 829 F.2d 800, 804 (9th

Cir. 1987) (“This court has held that a class action may lie in habeas corpus.”) (citing Mead, 464

F.2d at 1112–13). While the court in Mead recognized that “the usual habeas corpus case relates

only to the individual petitioner and to his unique problem[,]” the court concluded that a class

action would be appropriate “where the relief sought can be of immediate benefit to a large and


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amorphous group.” Mead, 464 F.2d at 1113. The following year, the Eighth Circuit agreed with

Mead “that under certain circumstances a class action provides an appropriate procedure to

resolve the claims of a group of petitioners and avoid unnecessary duplication of judicial efforts

in considering multiple petitions, holding multiple hearings, and writing multiple opinions.”

Williams v. Richardson, 481 F.2d 358, 361 (8th Cir. 1973). The court explained that “a method

by which the common claims of a large group of petitioners may be properly litigated without

endangering the individual rights of the class should not be summarily foreclosed unless clearly

inappropriate under the circumstances.” Id.

         In 1974, the Second Circuit considered a district court’s certification of a class of young

adults who brought a habeas action to challenge their detention under a statute that resulted in a

sentence of four years in a youth rehabilitation facility, when adults who committed the same

misdemeanor received sentences of no more than one year. The court expressed that “the class

action device should not be imported into collateral actions, at least in its full vigor as

contemplated by Rule 23.” U.S. ex rel. Sero v. Preiser, 506 F.2d 1115, 1125 (1974). The decision

clarified, however, that the All Writs Act, 28 U.S.C. § 1651, authorized courts to “fashion for habeas

actions ‘appropriate modes of procedure, by analogy to existing rules or otherwise in conformity

with judicial usage.’” Id. (quoting Harris v. Nelson, 394 U.S. 286, 299 (1969)). The “unusual

circumstances” of the case presented “a compelling justification for allowing a multi-party

proceeding similar to the class action authorized by the Rules of Civil Procedure.” Id. The court

reasoned that the legal challenge to the statute was “applicable on behalf of the entire class,

uncluttered by subsidiary issues.” Id. at 1126. Allowing the district court to proceed through a

class-like procedure avoided “the considerable expenditure of judicial time and energy in hearing

and deciding numerous individual petitions presenting the identical issue.” Id.

         Other circuit courts have found Sero persuasive and have recognized the availability of

procedures analogous to Rule 23 classes in habeas action proceedings. See LoBue v. Christopher,


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82 F.3d 1081, 1085 (D.C. Cir. 1996) (explaining that courts have developed “equivalents to class

actions in habeas”); Napier v. Gertrude, 542 F.2d 825, 827 n.2 (10th Cir. 1976) (“It has been

decided in other circuits that Rule 23 class actions are technically inapplicable to habeas corpus

proceedings. The court may, however, apply an analogous procedure by reference to Rule 23 in

proper circumstances.”); Bijeol v. Benson, 513 F.2d 965, 967 (7th Cir. 1975) (“[W]hile Rule 23 [ ]

does not apply, a representative action may be maintained in the unusual circumstances of this

case[.]”).

         In Bijeol, the Seventh Circuit expressed concerns that “[a]llowing wider representation in

a habeas corpus action might very well result in injustice to absent prisoners within the

represented class, who, if entitled to the benefits of the action, would also be affected, if not bound,

by an adverse determination.” Bijeol, 513 F.2d at 969. The court addressed the concern by limiting

the class to the district court’s jurisdiction–effectively, to one prison–and finding that “all

prisoners in the represented class [in that prison] were in fact informed about the action[.]” Id. at

968. In addition, the Seventh Circuit expressed its confidence that despite the class being limited

to the Southern District of Indiana, the respondents would act consistent with the decision

throughout the circuit.

         These authorities, and in particular Sero and those following its reasoning, confirm that

district courts, in appropriate circumstances, may rely on the All Writs Act to fashion relief

analogous to a class action. The All Writs Act authorizes courts to “issue all writs necessary or

appropriate in aid of their respective jurisdictions and agreeable to the usages and principles of

law.” 28 U.S.C. § 1651. This language permits courts to employ “appropriate modes of procedure,

by analogy to existing rules or otherwise in conformity with judicial usage,” in habeas proceedings.

Harris, 394 U.S. at 299. When determining whether a procedure analogous to a Rule 23 class

action is appropriate in a particular habeas corpus proceeding, courts can consider the Rule 23

factors. See Napier, 542 F.2d at 827 n.2. As a result, the Court will turn to those factors.


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         B. Rule 23 Factors

         To certify a class under Rule 23, a court must find that the proposed class meets the

requirements of Rule 23(a), which include: (1) the class must be so numerous that joinder of all

members is impracticable; (2) there must be questions of law or fact common to the class; (3) the

claims of the representative parties must be typical of those made by the class; and (4) it must be

shown that the representative parties will fairly and adequately protect the interests of the class.

            1. Numerosity

         Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

impracticable.”   To satisfy this prerequisite, “a plaintiff must ordinarily demonstrate some

evidence or reasonable estimate of the number of purported class members.” See Zeidman v. J.

Ray McDermott & Co., Inc., 651 F.2d 1030, 1038 (5th Cir. 1981). “The proper focus is not on

numbers alone, but on whether joinder of all members is practicable in view of the numerosity of

the class and all other relevant factors.” Phillips v. Joint Legislative Comm. on Performance &

Expenditure Rev. of State of Miss., 637 F.2d 1014, 1022 (5th Cir. 1981) (concluding that joinder

of unknown individuals was impracticable because the alleged class included future applicants

that were necessarily unidentifiable and not subject to enumeration); see also Mullen v. Treasure

Chest Casino, LLC, 186 F.3d 620, 625 (5th Cir. 1999) (concluding that the district court reasonably

inferred from the transient nature of the putative class members’ employment in the gambling

business that some of them would be geographically dispersed and unavailable for joinder);

Garcia v. Gloor, 618 F.2d 264, 267 (5th Cir. 1980) (“The basic question is practicability of joinder,

not number of interested persons per se.”). These factors include the geographical dispersion of

the class, the ease with which class members may be identified, the nature of the action, and the

size of each plaintiff’s claim. See Zeidman, 651 F.2d at 1038; see also Garcia, 618 F.2d at 267

(“Practicability of joinder depends on size of the class, ease of identifying its members and

determining their addresses, facility of making service on them if joined and their geographic


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dispersion.”). “[T]he fact that the class includes unknown, unnamed future members also weighs

in favor of certification.” Pederson v. Louisiana State Univ., 213 F.3d 858, 868 n.11 (5th Cir.

2000); see also Jack v. American Linen Supply Co., 498 F.2d 122, 124 (5th Cir. 1974) (“The

alleged class also includes unnamed, unknown future black employees who will be affected by [ ]

discriminatory policies, and joinder of unknown individuals is certainly impracticable.”).

         Turning to the present matter, at the hearing on the Motion for Preliminary Injunction,

Respondents represented that since the Supreme Court’s decision in Trump v. J.G.G., —U.S. —,

No. 24A931, 2025 WL 1024097 (Apr. 7, 2025), no individual currently detained in the Southern

District of Texas has been notified of being designated an alien enemy under the Proclamation

and subject to removal under the AEA. 1 In other words, Respondents claim no individual

currently falls within the proposed class, other than the Named Petitioners and the petitioner in

Zacarias Matos v. Venegas, et al., Civil Action No. 1:25-cv-057, pending before this Court.

         In response, Petitioners note that in a separate proceeding, “the government identified 86

people in detention subject to the Proclamation and 172 more who are at liberty.” (Class Cert.

Mot., Doc. 4, 12 (citing Cerna Decl. ¶ 6, J.G.G. v. Trump, No. 25-cv-766-JEB (D.D.C. Mar. 18,

2025))) The declaration on which Petitioners rely, however, leaves unclear the location of the

referenced individuals. As a result, the record does not identify any individuals beyond the Named

Petitioners (and Zacarias) who currently would fall within the proposed class.

         Still, Respondents do not contest that the Executive Branch can transfer detained aliens

to different detention facilities, including those within this Court’s jurisdiction. And Respondents

do not contest that before the J.G.G. decision, about 100 individuals were detained in the

Southern District of Texas and had been designated as alien enemies under the Proclamation. See

J.G.G. v. Trump, No. CV 25-766 (JEB), 2025 WL 1119481, at *3 (D.D.C. Apr. 16, 2025) (citing

article with White House official statements). Thus, the number of Venezuelan aliens who


1The parties agree that before J.G.G., the Named Petitioners had been designated as alien enemies under the
Proclamation.
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Respondents could designate as alien enemies under the Proclamation and detain in or remove

through this Court’s geographic jurisdiction remains fluid.

         The Court finds that Respondents have the ability to transfer a significant number of

unidentified Venezuelan aliens into the Southern District of Texas, designate them as alien

enemies under the Proclamation, and subject them to removal under the AEA. Respondents could

utilize detention facilities for these purposes throughout the Southern District of Texas, rendering

joinder impracticable due to the geographic dispersion. The fact that these individuals currently

remain unknown further precludes their joinder. Thus, the factor of numerosity supports the

application of an analogous class-like procedure.

            2. Commonality

         This factor requires the plaintiff to identify “questions of law or fact common to the class.”

FED. R. CIV. P. 23(a)(2). A common question must be “of such a nature that it is capable of

classwide resolution—which means that determination of its truth or falsity will resolve an issue

that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores Inc. v.

Dukes, 564 U.S. 338, 350 (2011). Frequently, the class certification analysis overlaps with the

merits of the plaintiff’s underlying claim. Id. at 351–55 (concluding that because respondents

provided no proof of a “general policy of discrimination,” they had not established the existence

of any common question).

         Courts may refuse class certification where the “[class-wide] liability issues are relatively

straightforward,” but there are “vastly more complex individual issues.” Steering Comm. v. Exxon

Mobil Corp., 461 F.3d 598, 603 (5th Cir. 2006) (upholding the denial of class certification because

the complexity of the individualized causation and damages issues outweighed the class-wide

liability issues). However, the presence of individual fact issues does not necessarily defeat

commonality. The Fifth Circuit’s decision in In re Deepwater Horizon proves illustrative. See In

re Deepwater Horizon, 739 F.3d 790 (5th Cir. 2014). In that case, the district court certified a


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class of individuals asserting economic loss and property damage resulting from an offshore oil

spill. Various parties appealed the certification on various grounds, including that damages would

be disparate and that some class members had suffered no damages. As to the factor of

commonality, the Fifth Circuit reaffirmed that “class members must raise at least one contention

that is central to the validity of each class member’s claims.” Id. at 810. “[T]he legal requirement

that class members have all ‘suffered the same injury’ can be satisfied by an instance of the

defendant’s injurious conduct, even when the resulting injurious effects–the damages–are

diverse.” Id. at 810–11. As the district court had identified numerous common issues of law that

related to liability, the presence of individualized damages analyses did not defeat commonality,

especially when “virtually every issue prior to damages [wa]s a common issue.” Id. at 811 (quoting

Bertulli v. Independent Ass’n of Continental Pilots, 242 F.3d 290, 298 (5th Cir. 2001)).

         The present matter raises many common questions of law, but also indisputably raises

some questions of fact that would require individualized hearings to resolve. As to the former,

Petitioners challenge the lawfulness of the President’s invocation of the AEA through the

Proclamation. They argue, primarily, that the preconditions required to apply the AEA do not

exist, that the intended application of the Proclamation and the AEA violate the designated alien

enemies’ due process rights under the Constitution, and that the procedures that Respondents

seek to follow violate the Immigration and Nationality Act and the Convention Against Torture.

These issues hold true for any individual that Respondents designate as an alien enemy under the

Proclamation and subject to removal under the AEA. A favorable result on any of these legal

theories as to one individual will prove equally applicable to other Venezuelan aliens designated

as alien enemies under the Proclamation. As a result, the Court finds that Petitioners identify “at

least one contention that is central to the validity of each class member’s claims.” Id. at 810; see

also M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 840 (5th Cir. 2012) (indicating that the




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principal requirement of Wal–Mart is a single common contention that enables the class action

“to generate common answers apt to drive the resolution of the litigation”) (emphasis in original).

          At the same time, Petitioners cannot deny that whether any particular individual is a

member of TdA would require a fact-specific, individualized determination. It is true that the

Court would have to determine the applicable legal standard, and this analysis would apply to

every class member. But the hearings themselves would proceed individually, as the relevant facts

for each person differ. Still, as in In re Deepwater, the Court can utilize individualized hearings

to receive evidence and adjudicate the relatively-narrow issue of the person’s alleged membership

in TdA.

             3. Typicality

          Typicality “focuses on the similarity between the named plaintiffs’ legal and remedial

theories and the theories of those whom they purport to represent.” Stirman v. Exxon Corp., 280

F.3d 554, 562 (5th Cir. 2002) (quoting James v. City of Dall., 254 F.3d 551, 571 (5th Cir. 2001)).

“[T]he critical inquiry is whether the named plaintiff’s claims have the same essential

characteristics as those of the putative class. If the claims arise from a similar course of conduct

and share the same legal theory, factual differences will not defeat typicality.” Angell v. GEICO

Advantage Ins. Co., 67 F.4th 727, 736 (5th Cir. 2023) (cleaned up).

          Here, Respondents’ course of conduct–i.e., the designation of individuals as alien enemies

under the AEA–is identical as to every proposed class member. Each putative class member

challenges the lawfulness of the President’s invocation of the AEA through the Proclamation.

          Respondents argue that because the Named Petitioners have already received notice of

their designation as alien enemies, and future class members may receive differing periods of

notice, the Named Petitioners do not possess the same interest or suffer the same injury as the

proposed class. (Resp., Doc. 45, 40–41) But in making this argument, Respondents overlook that

each proposed class member’s claims would arise from a similar course of conduct, and would


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advance the relatively-identical legal theory to challenge Respondents’ actions. The Court may

reach some of those legal issues before determining the adequacy of the notice procedures. And

even if not, the factual differences would not arise to a level sufficient to defeat typicality.

             4. Adequate Representation

          “[T]he adequacy requirement mandates an inquiry into (1) the zeal and competence of the

representatives’ counsel and (2) the willingness and ability of the representatives to take an active

role in and control the litigation and to protect the interests of absentees.” Berger v. Compaq

Comput. Corp., 257 F.3d 475, 479 (5th Cir. 2001) (cleaned up) (citing Horton v. Goose Creek

Indep. Sch. Dist., 690 F.2d 470, 484 (5th Cir. 1982)).

          In the present action, Respondents do not challenge the factor of adequate representation,

and based on the education and experience of proposed class counsel, the Court finds that they

would adequately represent the proposed class. (See Declaration of Daniel A. Galindo, Doc. 4–1

(summarizing education and experience of counsel))

          C. Application

          The Court does not decide the legal question of whether class certification under Rule 23

is available in a habeas corpus proceeding. Rather, the Court relies on its authority under the All

Writs Act to “issue all writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law.” 28 U.S.C. § 1651. Based on this authority, the Court

can employ “appropriate measures of procedure, by analogy to existing rules or otherwise in

conformity with judicial usage,” in habeas corpus proceedings. Harris v. Nelson, 394 U.S. 286,

299 (1969). Those existing rules include Rule 23 class actions. Thus, the Court considers whether

the circumstances of this lawsuit render appropriate the use of a procedure analogous to a Rule

23 class action. And based on the special circumstances of this case and the relevant caselaw

regarding Rule 23, the Court concludes that such relief should issue.




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          First, the lawsuit raises several common questions of law that may prove dispositive as to

all Venezuelan aliens in the Southern District of Texas. As previously summarized, those issues

concern whether the preconditions necessary to apply the AEA exist, and whether Respondents’

application of the AEA violates individuals’ due process rights or provisions of the INA and the

Convention. While individualized evidentiary hearings would be required to adjudicate whether

an individual within the class is a member of TdA, the common issues of law may obviate the need

for any such hearings. And even if not, the resulting hearings regarding membership in TdA

would be relatively focused, and would resemble the individualized damages analyses used in

class actions such as In re Deepwater. The Court would schedule individual hearings and

adjudicate the factual issues accordingly. In contrast, requiring individualized habeas corpus

proceedings to repeatedly address the common legal issues unduly wastes judicial resources.

          The Rule 23 factors of numerosity, typicality, and adequacy also support a class-like

remedy. Although the record does not render clear how many individuals may become part of the

class, it is apparent that Respondents at one time detained 100 Venezuelans designated as alien

enemies in the Southern District of Texas, and that Respondents possess the authority to transfer

detained aliens in the future into this Court’s jurisdiction, or to detain Venezuelan aliens who

reside in this District. Joinder of numerous individuals, detained in multiple detention facilities

within the Southern District of Texas, would be impracticable. Each class member’s claims arise

from a similar course of conduct by Respondents and rests upon the same legal theory. And no

party contests the adequacy of proposed class counsel, who constitute attorneys with ample

experience in relevant areas of law and who have sufficient resources to zealously advocate on

behalf of individuals designated as alien enemies under the Proclamation.

II.       Conclusion

          The unusual circumstances of this case present a compelling justification to utilize a

procedure equivalent to a class action authorized by Rule 23. For these reasons, it is:


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          ORDERED that the Petitioner’s Motion for Class Certification (Doc. 4) is GRANTED to

the extent indicated in this Order and Opinion;

          ORDERED that the Court certifies a class of Venezuelan aliens, 14 years old or older, who

have not been naturalized, who Respondents have designated or in the future designate as alien

enemies under the March 14, 2025, Presidential Proclamation entitled ‘Invocation of the Alien

Enemies Act Regarding the Invasion of the United States by Tren De Aragua’, 90 Fed. Reg. 13033,

and who are detained or reside in the Southern District of Texas; and

          ORDERED that Lee Gelernt of the American Civil Liberties Union Foundation is

appointed lead counsel for the certified class, and all ACLU attorneys who have appeared in this

matter as counsel of record for Named Petitioners are appointed co-counsel for the certified class.

          Signed on May 1, 2025.


                                                      ____________________________
                                                      Fernando Rodriguez, Jr.
                                                      United States District Judge




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